Case 4:04-cr-70083-MFU-PMS Document 749 Filed 06/12/06 Page 1 of 7 Pageid#: 2192
AQ 245B (Rev, 06/05 - VAW Additions 6/05) Judgment in a Criminal Case CLERK'S OFFIGE US DiGT COURT
AT ROANOKE, VA ~

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UNITED STATES DISTRICT COURT UN 12 2006

Western District of Virginia

 

 

 

UNITED STATES OF AMERICA JUDGMENT INA CRIMINA
Vv. Case Number: DVAW404CR700083-002
ANTHOINE PLUNKETT Case Number:

USM Number: 17734-084

Roger Groot, Esq., Beverly M. Davis, Esq., Rhonda Overstreet, Esq.
Defendant's Attorney

 

THE DEFENDANT:
(_] pleaded guilty to count(s)

 

L_] pleaded nolo contendere to count(s)
which was accepted by the court.

 

[X] was found guilty on count(s) One, Two, Three, Four and Five
after a plea of not guilty,

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC § 1958(a) Conspiracy to Travel in Interstate Commerce with the Intent to Commit 07-22-1999 One
Murder for Pecuniary Gain
18 USC § 1958(a) Travel in Interstate Commerce with the Intent to Commit Murder for 07-22-1999 Two

Pecuniary Gain, Aid and Abet

18 USC § 371 Conspiracy to Travel in Interstate Commerce with the Intent to Commit 07-22-1999 Three
Interstate Stalking

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

_] The defendant has been found not guilty on count(s)
L_} Count(s) CJ is (7 are dismissed on the motion of the United States.

 

 

_,._ it is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence
or mailing address until all fines, restitution, costs, and special assessments imiposed by this judgment are fully paid If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

June 2, 2006

Date of Imposition of Judgment

Signature of Judge

 

 

Glen E. Conrad, United States District Judge
Name and Title of Judge

JUNE t, 200 ¢,

 

 

Date

 

 

 
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AQ 245B (Rev, 06/05 - VAW Additions 6/05) Judgment in a Criminal Case
Sheet [A

Judgment-Page
DEFENDANT: ANTHOINE PLUNKETT
CASE NUMBER: DVAW404CR700083-002

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended

18 USC § 2261A(1) — Travel in Interstate Commerce with the Intent to Commit Interstate 07-22-1999
Stalking, Aid and Abet

18 USC 8§ 924(c)(1) Use of a Firearm During and in Relation to a Crime of Violence 07-22-1999

(A)(iii) and 924G) —- Resulting in Death, Aid and Abet

2

of

Count

Four

Five

 

 
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Judgment in Criminal Case
Sheet 2 - Imprisonment

Judgment - Page 3 of
DEFENDANT: ANTHOINE PLUNKETT
CASE NUMBER: DVAW404CR700083-002

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

As to each of Counts One, Two and Four - Life, to run concurrently
As to Count Three - Sixty (60) months, to run concurrently with sentence of imprisonment imposed on Counts One, Two and Four
As to Count Five - Life, to run consecutively to sentence of imprisonment imposed on Counts One, Two, Three and Four

The court makes the following recommendations to the Bureau of Prisons:

As Close to Danville, Virginia as possible

The defendant is remanded to the custody of the United States Marshal.

[J The defendant shall surrender to the United States Marshal for this district:
Cl at oO a.m. Cl p.m. on
(4) as notified by the United States Marshal.

 

[[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
Ci before on
(Cas notified by the United States Marshal.

L] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a » with a certified copy of this judgment,
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL,

 

 

 
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AO 245B (Rev. 06/05 - VAW Additions 6/05) Judgment in a Criminal Case

Sheet 3 - Supervised Release

Judgment-Page 4 of 7
DEFENDANT:  ANTHOINE PLUNKETT

CASE NUMBER: DVAW404CR700083-002
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

Three years as to Count Three, and Five years as to each of Counts One, Two, Four and Five, All to run concurrently

MANDATORY CONDITIONS OF SUPERVISION

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance, The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

L] The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

ix] = The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
Ix] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer, (Check, if applicable.)

[-] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet on this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1} the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the (defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6} the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7} the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8} the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

H) the defendant shal! notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
the defendant's compliance with such notification requirement.

 

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AO 245B Rev, 80S - VAW 0083. 6/03) Judgment in a Crimmal Case
Sheet 3C - Supervised Release

Jud LP 5 7
DEFENDANT: ANTHOINE PLUNKETT udgment-Page > of __ 7
CASE NUMBER: DVAW404CR700083-002

SPECIAL CONDITIONS OF SUPERVISION

1 - The defendant shall participate in a program of testing and treatment for substance abuse, as directed by the probation officer, until such
time as the defendant is released from the program by the probation officer,

2 - The defendant shail not possess a firearm or destructive device and shall reside in a residence free of firearms and destructive devices.

3 - The defendant shall submit to warrantless search and seizure of person and property as directed by the probation officer, to determine
whether the defendant is in possession of firearms and illegal controlled substances.

4 - The restitution is ordered to be paid Joint & Several with co-defendants Lanny Benjamin Bodkins and Darel Taylor, until such time as the
sum of all payments covers the compensable injuries. Further, it is ordered that Sylvia Wimbush be compensated in full before any funds
are dispersed to the Criminal Injuries Compensation Fund, upon agreement of all parties.

 

 

 
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AO 245B (Rev. 06/05 - VAW Additions 6/05) Judgment in a Criminal Case

Sheet 5 - Criminal Monetary Penalties

Judgment - Page 6 of 7
DEFENDANT: ANTHOINE PLUNKETT

CASE NUMBER: DVAW404CR700083-002
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 500.00 $ $ 5,271.75
(-] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

[-] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
Mrs. Sylvia Wimbush $1,771.75 $1,771.75 To be paid first
Criminal Injuries Compensation Fund $3,500.00 $3,500.00

TOTALS $5,271.75 $5,271.75

 

 

(J Restitution amount ordered pursuant to plea agreement $

[_] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
L_] the interest requirement is waived forthe [—] fine [_] restitution.

[_] the interest requirement for the [} fine [(] restitution is modified as follows:

*Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 13, 1996.

 

 

 
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AO 245B (Rev. 06/05 - VAW Additions 6/05) Judgment in a Criminal Case
Sheet 6 - Schedule of Payments

Judgment - Page 7 of 7
DEFENDANT: ANTHOINE PLUNKETT
CASE NUMBER: DVAW404CR700083-002

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, the total criminal monetary penalties are due immediately and payable as follows:

 

A Lump sum payment of $ 500.00 immediately, balance payable
[J not later than or
i] = in accordance CJ Cc, CI p, LIE, Fo, OG below); or
B [] Payment to begin immediately (may be combined with Cle, LID, CJ F, or (_] G below); or
Cc {Payment in equal {e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (0 Payment in equal {e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E  [] Payment during the term of supervised release will commence within (e.g., 36 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F [XJ During the term of imprisonment, payment inequal___ monthly __(e.g., weekly, monthly, quarterly) installments of

$ 25.00 ,or_ 25% of the defendant's income, whichever is greater, to commence 60 days (e.g., 30 or
60 days) after the date of this judgment; AND payment in equal___ monthly (e.g., weekly, monthly, quarterly)
installments of $ 25.00 during the term of supervised release, to commence 60 days (e.g., 30 or 60 days}
after release from imprisonment.

 

G [] Special instructions regarding the payment of criminal monetary penalties:

Any installment schedule shall not preclude enforcement of the restitution or fine order by the United States under 18 U.S.C §§ 3613 and
3664(m).

any installment schedule is subject to adjustment by the court at any time during the period of imprisonment or supervision, and the
defendant shall notify the probation officer and the U.S. Attorney of any change in the defendant's economic circumstances that may affect the
defendant's ability to pay.

All criminal monetary penalties shall be made payable to the Clerk, U.S. District Court, P.O. Box 1234, Roanoke, Virginia 24006, for
disbursement.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
<} © Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Tota! Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Lanny Benjamin Bodkins 4-04-cr-70083-01 $5,271.75 Total owed joint & several by all defendants
Anthoine Plunkett 4-04-cr-70083-02

Darel Keith Taylor 4-04-cr-70083-03

LJ The defendant shall pay the cost of prosecution.
[1] The defendant shall pay the following court cost(s):

[The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

 
